      Case 5:20-cv-00035 Document 19 Filed on 03/30/20 in TXSD Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 LAREDO DIVISION


Sylvia Bruni, Texas Democratic Party, DSCC,
DCCC, and Jessica Tiedt,

                       Plaintiffs,                       Civil Action No. 5:20-cv-35

       v.

RUTH HUGHS, in her official capacity as the
Texas Secretary of State,

                       Defendant.


               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65(a), Plaintiffs Sylvia Bruni, Texas

Democratic Party, DSCC, DCCC, and Jessica Tiedt, for the reasons set forth in the memorandum

of law filed concurrently with this Motion and supported by the exhibits and declarations submitted

therewith, respectfully move for an order preliminarily enjoining RUTH HUGHS, in her official

capacity as Texas Secretary of State, and her officers, agents, servants, employees, and successors,

and all persons in active concert or participation with them, from implementing, enforcing, or

giving any effect to House Bill 25, and ordering Defendant to ensure that all Texas voters have the

option to vote straight ticket in the November 2020 General Election as well as any future general

election occurring during the pendency of this litigation.


 March 30, 2020                              Respectfully submitted,

                                             /s/ Skyler M. Howton
                                             Skyler M. Howton
                                             Attorney-in-Charge
                                             TX# 24077907
                                             SDTX#2395101
                                             PERKINS COIE LLP
Case 5:20-cv-00035 Document 19 Filed on 03/30/20 in TXSD Page 2 of 3



                              500 North Akard St., Suite 3300
                              Dallas, TX 75201-3347
                              Telephone: (214) 965-7700
                              Facsimile: (214) 965-7799
                              SHowton@perkinscoie.com

                              Marc E. Elias*
                              Bruce V. Spiva*
                              Lalitha D. Madduri*
                              Daniel C. Osher*
                              Emily R. Brailey*
                              Stephanie I. Command*
                              MElias@perkinscoie.com
                              BSpiva@perkinscoie.com
                              LMadduri@perkinscoie.com
                              DOsher@perkinscoie.com
                              EBrailey@perkinscoie.com
                              SCommand@perkinscoie.com
                              PERKINS COIE LLP
                              700 Thirteenth Street, N.W., Suite 600
                              Washington, D.C. 20005-3960
                              Telephone: (202) 654-6200
                              Facsimile: (202) 654-6211

                              Counsel for All Plaintiffs

                              *Pro Hac Vice Application Pending

                              Chad W. Dunn, TX# 24036507
                              Brazil & Dunn, LLP
                              4407 Bee Caves Road, Suite 111
                              Austin, Texas 78746
                              Telephone: (512) 717-9822
                              Facsimile: (512) 515-9355
                              chad@brazilanddunn.com

                              Counsel for Plaintiff Texas Democratic Party




                                -2-
      Case 5:20-cv-00035 Document 19 Filed on 03/30/20 in TXSD Page 3 of 3




                                CERTIFICATE OF CONFERENCE

       Pursuant to the Local Rules and Standing Orders and Procedures of this Court, I hereby

certify that counsel for movant Plaintiffs and respondent Defendant have electronically conducted

a conference at which there was a discussion regarding Defendant’s position on Plaintiffs’ Motion.

The parties have been unable to resolve the matters presented in Plaintiffs’ Motion.

       Certified to on March 30, 2020
                                                /s/ Skyler M. Howton
                                                Skyler M. Howton


                                  CERTIFICATE OF SERVICE

       I hereby certify that March 30, 2020, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system. As no counsel of record has appeared for Defendant, I further

certify that I will have a copy of the foregoing document personally served on Defendant through

a third-party process server.

                                                /s/ Skyler M. Howton
                                                Skyler M. Howton




                                               -3-
